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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES—GENERAL

 Case No. CV 18-230-MWF (ASx)                     Date: December 21, 2018
 Title:   Netflix Studios, LLC, et al. v. Dragon Media Inc., et al.

 Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

           Deputy Clerk:                           Court Reporter:
           Rita Sanchez                            Not Reported

           Attorneys Present for Plaintiff:        Attorneys Present for Defendant:
           None Present                            None Present

 Proceedings (In Chambers):             ORDER RE: APPLICATION FOR
                                        TEMPORARY RESTRAINING ORDER AND
                                        ORDER TO SHOW CAUSE WHY A
                                        PRELIMINARY INJUNCTION SHOULD
                                        NOT ISSUE [46]

        Before the Court is an Application for Temporary Restraining Order and Order
 to Show Cause Why a Preliminary Injunction Should Not Issue (the “Application”),
 filed by Netflix Studios, LLC; Amazon Content Services, LLC; Columbia Pictures
 Industries, Inc.; Disney Enterprises, Inc.; Paramount Pictures Corporation; Twentieth
 Century Fox Film Corporation; Universal City Studios Productions LLLP; and Warner
 Bros. Entertainment Inc.’s (together, “Plaintiffs”), on December 20, 2018. (Docket
 No. 46). The Court has read and considered the papers on the Application.

       For the reasons discussed below, the Application is GRANTED in part and
 DENIED in part. While Plaintiffs have made a strong showing of the factors to justify
 a temporary restraining order or a preliminary injunction, the Court concludes that a
 TRO is inappropriate in light of Plaintiffs’ nearly year-long delay in bringing the
 Application and until both parties can be heard on the issue of injunctive relief. The
 Court, however, is willing to issue an Order to Show Cause as to why a preliminary
 injunction should not be granted.




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 I.    BACKGROUND

       The following facts are alleged in the Complaint or included in declarations
 attached to the Application.

       A.     The Parties and Pre-Lawsuit Conduct

       Plaintiffs are various studios that produce motion pictures and television shows.
 (Complaint (“Compl.”) ¶¶ 4–11 (Docket No. 1)). Defendant Dragon Media, Inc.
 (“Dragon Media”) markets and sells “Dragon Box,” a computer hardware device that is
 used as a tool to stream Plaintiffs’ motion pictures and television shows. (Id. ¶¶ 1, 13).
 Defendant Paul Christoforo is Dragon Media’s Chief Executive Officer. (Id. ¶ 14).

          The Dragon Box device, after being purchased by a customer, presents “the
 customer with menus and other features to aid the customer in finding virtually any
 television show or movie, including movies still in theaters . . . [and] use[s] software,
 i.e., illicit addons such as ‘Covenant,’ to link [the] customers to the content they’ve
 selected.” (App. at 3). Dragon Box links to content that is unlicensed and “without
 any royalties being paid to the rightful copyright owners.” (Id.). Two advertisements
 for the Dragon Box are reproduced below:




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 (Declaration of Michael B. DeSanctis (“DeSanctis Decl.”), Ex. D; Compl. ¶ 39).

         After installing the Dragon Box, a customer would have seen the following
 menu:




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 (Declaration of Matthew Fulton (“Fulton Decl.”) ¶¶ 5–6). And across the bottom of
 the menu, the Dragon Box presented a “curated selection of various illicit addons,
 including ‘Covenant,’ ‘Inferno,’ and ‘Silent Hunter,’” which function by searching
 repositories of content across the Internet and returning links to sources of infringing
 content. (Id. ¶ 7). Covenant, for example, is a “popular addon that scrapes a large
 number of repositories for streaming . . . popular and recently released movies,
 including some still in theaters or otherwise unavailable for online streaming.” (Id.
 ¶¶ 8–9).

       B.     Post-Lawsuit Conduct

        On January 10, 2018, Plaintiffs commenced this action. (See generally Compl.).
 Plaintiffs assert two claims for relief: (1) copyright infringement and (2) contributory
 copyright infringement under the Copyright Act, 17 U.S.C. § 101 et seq. (Id. ¶¶ 48–
 67).

        Shortly after Plaintiffs commenced this action, Dragon Media “represented that
 [it] would stop selling Dragon Box devices” and repeatedly represented for several
 ______________________________________________________________________________
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 months that it “soon would be pushing out a new software update that would allow
 Dragon Box users to stream only fully licensed content.” (App. at 4; DeSanctis Decl.
 ¶ 3).

        On September 18, 2018, however, Dragon Media “announced that new software
 updates were available” and along with the software updates, a new service called
 “BlendTV.” (App. at 4–5). When turning on the Dragon Box, a customer would have
 seen the following menu:




 (Fulton Decl. ¶ 16). After selecting the BlendTV option, a customer would be
 presented with a variety of options for content. A screenshot of the various options is
 reproduced below:




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 (Id. ¶ 20).

        Dragon Box customers could then access streams in one of two ways: (1) “‘live’
 broadcast and cable television channels that are streamed over the Internet as they are
 being broadcast; and (2) video-on-demand (‘VOD’) options where a customer can
 select from dozens of options for television shows and movies.” (App. at 6). Dragon
 Box customers could also record programs and play them later. (Id.).

      Below is a screenshot of the “menu of television programming organized [by]
 channel” and what a Dragon Box customer would have seen:




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 (Fulton Decl. ¶ 24). A Dragon Box customer may also search for specific movies and
 television shows. (Id. ¶¶ 26–27).

        According to Plaintiff, within three weeks of launching BlendTV, Dragon Media
 “announced [its] intent to switch to yet another, purportedly lawful, content provider
 and informed customers via Facebook that BlendTV would not be available as of
 November 26[, 2018], and recommended that customers try a different service while
 [Dragon Media] worked to resolve the issue or find another content provider.” (App.
 at 8).

       On December 10, 2018, the parties held an unsuccessful mediation before a
 Magistrate Judge. (Id. at 2). The very next day, Dragon Media launched “My TV
 Hub,” which “appears to be a copycat of BlendTV.” (Id. at 9). On the same day, Mr.
 Christoforo also failed to appear for his properly noticed deposition. (Id. at 2).

        Below is a menu of movies and television programming that a customer would
 see after launching My TV Hub:

 ______________________________________________________________________________
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 (Fulton Decl. ¶ 31). Just like BlendTV, My TV Hub “offers customers options to
 watch a ‘live’ transmission of [a specific programming] at [a] specified time and date,
 or to watch a ‘RECORDED’ copy . . . on-demand.” (App. at 9).

        According to Plaintiffs, Dragon Media has promoted and called the various
 iterations of its software “legal cable service[s].” (Id. at 11). For instance, Dragon
 Media marketed BlendTV as a product that gives customers “over 65 Live US TV
 Channels[,] 30 hours of Cloud-PVR, 7-day Playback, and watch on the go options” and
 “for only $39.95 per month.” (Id. at 10; DeSanctis Decl., Exs. K–L). And when
 switching from BlendTV to My TV Hub, Dragon Media similarly informed customers
 that “all you will have to do is go to a new website and resubscribe and log in and the
 content will be there plus more.” (App. at 11).

        Through their Application, Plaintiffs seek a temporary restraining order
 enjoining Dragon Media and Mr. Christoforo from continuing “to utilize and promote
 any illicit streaming service . . . to customers [by] providing copyrighted content for
 nothing.” (Id.).

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 II.   DISCUSSION

         Federal Rule of Civil Procedure 65 governs the issuance of temporary
 restraining orders and preliminary injunctions, and courts apply the same standards to
 both. Stuhlbarg Intern. Sales Co., Inc. v. John D. Brush & Co., 240 F.3d 832, 839 n.7
 (9th Cir. 2001). A plaintiff seeking injunctive relief must show that (1) it is likely to
 succeed on the merits; (2) it is likely to suffer irreparable harm in the absence of
 preliminary relief; (3) the balance of the equities tips in its favor; and (4) an injunction
 is in the public interest. Toyo Tire Holdings of Ams. Inc. v. Cont’l Tire N. Am., Inc.,
 609 F.3d 975, 982 (9th Cir. 2010) (citing Winter v. Nat. Res. Def. Council, 555 U.S. 7
 (2008)).

        A plaintiff must “make a showing on all four prongs.” Alliance for the Wild
 Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011). The Ninth Circuit employs
 the “serious questions” version of the “sliding scale” approach when applying the four-
 element Winter test. Id. at 1134. “That is, ‘serious questions going to the merits’ and a
 balance of hardships that tips sharply towards the plaintiff can support issuance of a
 preliminary injunction, so long as the plaintiff also shows that there is a likelihood of
 irreparable injury and that the injunction is in the public interest.” Id. at 1135.

       Here, Plaintiffs appear to have made a strong showing of the four prongs of the
 Winter test to justify injunctive relief:

      First, assuming that the allegations in the Complaint are true, Plaintiffs have
 made a substantial showing that Dragon Media and Mr. Christoforo violated the
 Copyright Act.

        In order to prevail on their copyright infringement claims, Plaintiffs will need to
 demonstrate two basic things: (1) “ownership of the allegedly infringed material”; and
 (2) violation of “at least one exclusive right granted to copyright holders under 17
 U.S.C. § 106.” A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013 (9th Cir.
 2001). Plaintiffs have demonstrated that they own allegedly infringed content by
 including “a representative list of [movies] that are infringed through Dragon Box,”
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  including Wonder Woman, Jurassic World, and Deadpool. (See DeSanctis Decl.,
  Ex. R).

        Plaintiffs also appear to have demonstrated that they are likely to prevail on their
  inducement claims. Plaintiffs rely primarily on two cases to support their argument
  that Dragon Media and Mr. Christoforo are liable for the infringement of Plaintiffs’
  exclusive rights under an inducement / contributory infringement theory: Metro-
  Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913 (2005), and Columbia
  Pictures Industries, Inc. v. Fung, 710 F.3d 1020 (2013).

         In Grokster, the Supreme Court held that “one who distributes a device with the
  object of promoting its use to infringe copyright, as shown by clear expression or other
  affirmative steps taken to foster infringement, is liable for the resulting acts of
  infringement by third parties.” Grokster, 545 U.S. at 936–37.

         In Fung, the Ninth Circuit analyzed Grokster and held that a defendant may be
  held liable for copyright infringement under Grokster’s inducement theory where four
  elements are present: “(1) the distribution of a device or product [by the defendant],
  (2) acts of infringement [by third parties], (3) an object [of the defendant] of promoting
  [the device’s or product’s] use to infringe copyright, and (4) causation. Fung, 710 F.3d
  at 1032.

         Accepting the allegations in the Complaint as true, the Court is persuaded that
  all four elements set forth in Fung are likely satisfied: (1) Dragon Media and Mr.
  Christoforo market, promote, and sell various iterations of software (i.e., BlendTV and
  My TV Hub); (2) the intended use of the Dragon Box is for customers to select titles
  and receive unauthorized streams from BlendTV and My TV Hub; (3) Dragon Media
  and Mr. Christoforo’s objective is to promote copyright infringement, as demonstrated
  by various advertisements and representations that Dragon Media would stop selling
  Dragon Box devices; and (4) there is sufficient evidence that the Dragon Box can be
  and is used to access infringing content and sufficient evidence of Dragon Media’s
  fault, primarily in the form of its advertisements and representations.

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         Second, it is not entirely clear that Plaintiffs are likely to suffer irreparable harm
  if Dragon Media and Mr. Christoforo are permitted to continue marketing and selling
  Dragon Box between now and the hearing on a motion for preliminary injunction.
  Plaintiffs produce and own various movies and television shows, and notes that for
  each day that Dragon Media’s customers continue to stream something on Dragon
  Box, Plaintiffs’ goodwill and reputation will diminish. (App. at 19–21). This
  contention, of course, has merits. See Herb Reed Enters., LLC v. Florida Entm’t
  Mgmt., Inc., 736 F.3d 1239, 1250 (9th Cir. 2013) (“Evidence of loss of control over
  business reputation and damage to goodwill could constitute irreparable harm.”) (citing
  Stuhlbarg Int’l Sales Co., Inc. v. John D. Brush and Co., Inc., 240 F.3d 832, 841 (9th
  Cir. 2001)).

          Yet, the Court is concerned with Plaintiffs’ delay in bringing the Application,
  especially considering the action commenced nearly a year ago and Plaintiffs have had
  ample opportunity to seek injunctive relief. A delay in filing a request for temporary
  relief, like here, may undercut a claim that a plaintiff will suffer immediate and
  irreparable harm. See, e.g., Lydo Enters. v. City of Las Vegas, 745 F.2d 1211, 1213
  (9th Cir. 1984) (“A delay in seeking a preliminary injunction is a factor to be
  considered in weighing the propriety of relief.”); see also Beverly Reid O’Connell &
  Karen L. Stevenson, Rutter Group Practice Guide: Federal Civil Procedure Before
  Trial, National Edition, § 13:95 (updated Apr. 2018) (“An important factor will be
  whether the applicant could have sought relief earlier by a motion for preliminary
  injunction, avoiding the necessity for a last-minute TRO. Delay in seeking relief may
  be evidence of laches . . . or negate the alleged threat of ‘immediate’ irreparable
  injury . . . The court has discretion to deny the application on either ground.”).

         While there have been three iterations of the same streaming service and Dragon
  Media appeared to have made the representation that it would stop selling Dragon Box
  devices, Plaintiffs could have moved for injunctive relief nearly a year ago, or when
  they filed the Complaint on January 10, 2018.

         Let me drop the third person for a moment. Plaintiffs have explained the reason
  for the delay, and I’d rather that a plaintiff be cautious rather than rash. I don’t mean
  ______________________________________________________________________________
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  to criticize Plaintiff’s counsel. But the fact that equitable relief is likely justified before
  the end of trial is not the same as saying that it’s justified right now. If damages are
  available, then Plaintiffs will suffer little. If Dragon Box is judgment proof, then these
  Plaintiffs can temporarily bear the limited further harm that will accrue.

         Third, the balance of the equities favors Plaintiffs, based on the strength of the
  showing. But for all the Court knows, requiring Dragon Media and Mr. Christoforo to
  stop marketing and selling the Dragon Box would shut-down a business that might
  have some legitimate purpose. This is akin to saying that granting summary judgment
  is appropriate if that’s the correct ruling.

         Fourth, injunctive relief is in the public interest because “protecting copyright
  owners’ marketable rights to their work and the economic incentive to continue
  creating television programming and motion pictures” is a compelling interest. Disney
  Enter. v VidAngel, 869 F.3d 848, 867 (9th Cir. 2017) (quotations and citations
  omitted).

        While Plaintiffs have made a strong showing of the factors to justify granting a
  preliminary injunction, and consequently a temporary restraining order, the Court
  concludes that it is inappropriate in light of the delay and until both parties can be
  heard on the issue of injunctive relief. As noted above, the Court is willing to issue an
  Order to Show Cause (“OSC”) as to why a preliminary injunction should not be
  granted.

  III.   CONCLUSION

        For the foregoing reasons, the Application is GRANTED in part and DENIED
  in part.

         As to the OSC, the briefing schedule is as follows:

      Defendants shall file the response to the OSC by December 28, 2018;

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      Plaintiffs shall file a reply by January 4, 2019;

      The hearing shall be on January 8, 2019, at 10:00 a.m. The parties may
       appear, either in person or telephonically, in Courtroom 5A of the First Street
       Courthouse for the United States District Court, Central District of California,
       located at 350 W. 1st Street, Los Angeles, California 90012.

        IT IS SO ORDERED.




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